                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION

DONALD MIDDLEBROOKS,                         )
                                             )
            Plaintiff,                       )     No. 3:19-cv-01139
                                             )     Judge Crenshaw
      v.                                     )     Magistrate Judge Holmes
                                             )     CAPITAL CASE
FRANK STRADA, et al.                         )
                                             )
            Defendant.                       )




                        MOTION FOR LEAVE TO
                  AMEND AND SUPPLEMENT COMPLAINT



      Plaintiff Donald Middlebrooks hereby moves pursuant to Fed. R. Civ. P. 15 for

leave to file a Supplemental and Amended Complaint. The proposed amendment and

supplementation are necessary to address events that occurred and facts that were

revealed during the period when this case was administratively closed. Specifically,

the purposes of the supplementation and amendment are as follows:

   1. To assert claims based on features of the newly unveiled 2025 protocol for

      performing executions by lethal injection;

   2. To assert facts that arose or were uncovered during the period in which this

      case was administratively closed by agreement; and




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   3. To assert facts that are newly relevant to Mr. Middlebrooks’ claims due to

      recent and ongoing changes to the law bearing on Eighth Amendment

      challenges.

These additions, taken together, require Mr. Middlebrooks’ Complaint—which

originally challenged a lethal injection protocol that TDOC has since rescinded—to

be effectively rewritten.

      Before this case was administratively closed, Defendants agreed in writing and

on the docket of the Court not to oppose Mr. Middlebrooks’ eventual request to amend

his Complaint to state “one count asserting a facial challenge to the revised or new

protocol” that was expected to be, and now has been, released. R. 59-3 at 2. Counsel

for Mr. Middlebrooks has informed counsel for Defendants of the general scope of Mr.

Middlebrooks’ anticipated amendments and supplementation, and the parties have

been unable to reach an agreement regarding whether Mr. Middlebrooks’ request

falls within that agreement. 1 Ultimately, however, the scope of Defendants’
                              0F




opposition, if any, is a secondary issue, because, for the reasons set out in the

accompanying Memorandum, Mr. Middlebrooks’ request is strongly supported by

Rule 15 and the interests of justice, and should, therefore, be granted in full,

regardless of whether any portion is opposed.




1 Counsel for Defendants have complained that Mr. Middlebrooks did not provide a

full copy of the PSAC to them prior to the day of filing, which he was unable to do
because he was continuing to review and revise it. However, Mr. Middlebrooks’
counsel has happily answered questions about its scope and contents.

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                                    Respectfully submitted,

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                                    Chief, Capital Habeas Unit

                                    Amy D. Harwell, BPR # TN 18691
                                    First Assistant Federal Public Defender

                                    Eli Swiney, BPR # TN 026626
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                                    /s/ Kelley J. Henry
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                                    Counsel for Plaintiffs




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                             Certificate of Service


      I, Kelley J. Henry, certify that on June 20, 2025, a true and correct copy of
the foregoing was served via the Court’s electronic filing system to opposing
counsel, Cody Brandon, Asst. Attorney General.


                                      /s/ Kelley J. Henry
                                      Kelley J. Henry




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